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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION
                                www.flsb.uscourts.gov


In re:                                                            Case No. 17-19159-PGH
STUART RICHARD BLATT,                                             Chapter 13
            Debtor.
____________________________/

                OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
                                 [re: ECF #41]

       COMES NOW, Boca Teeca Condominium No. 2, Inc. (“Creditor Association”), and

files its Objection to Confirmation of the Debtor’s proposed Amended Chapter 13 Plan,

and in support thereof, the Creditor Association states the following:

       1.     The Creditor Association objects to confirmation of the Debtor’s Amended

Chapter 13 Plan [ECF #41], as the Plan fails to specify how the Debtor plans to treat the

Creditor Association’s Claim 13-1.

       2.     As indicated in said Claim, the Creditor Association is a secured creditor

pursuant to Fla. Stat. §718.116 for the Debtor’s real property located at 5401 NW 2nd

Avenue, #229, Boca Raton, FL 33487 (the “Subject Property”) for unpaid condominium

assessments and related charges.

       3.     Notably, the Debtor’s Amended Chapter 13 Plan does not propose

repayment of the Creditor Association’s Claim, does not surrender the Subject Property

from the bankruptcy estate, does not place the Creditor Association’s Claim within the

cram box, nor does it treat the Creditor Association outside of the Plan.

       4.     In the event that the Debtor fails to further modify or amend the subject Plan

to address these issues, the Debtor’s Plan cannot be confirmed.
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       5.     As a result of the necessity of preparing and filing this Objection to

Confirmation, the Creditor Association has incurred additional attorneys’ fees.

       WHEREFORE, Creditor Boca Teeca Condominium No. 2, Inc. requests that this

Court deny confirmation of the proposed Amended Chapter 13 Plan and grant such other

and further relief as the Court deems just and appropriate.

                                                  I Hereby Certify that I am admitted to the
                                                  Bar of the United States District Court for
                                                  the Southern District of Florida, and that I
                                                  am in compliance with the additional
                                                  qualifications to practice in this court set
                                                  forth in Local Rule 2090-1(A).

                                                   Joseph Arena, Esquire
                                                  Sachs Sax Caplan
                                                  6111 Broken Sound Parkway NW
                                                  Suite 200
                                                  Boca Raton, FL 33487
                                                  (561) 994-4499
                                                  Email: jarena@ssclawfirm.com
                                                  Counsel for Boca Teeca Condominium
                                                  No. 2, Inc.


                                                  By: /s/ Joseph Arena
                                                     Joseph Arena, Esquire
                                                     Florida Bar No: 0045290


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was served on the 26th day of
December, 2017, by electronic transmission via the Court’s CM/ECF system upon those
parties on the attached Service List and by First Class, U.S. Mail to all parties who were not
otherwise served electronically through the Court’s CM/ECF system.

                                                   /s/ Joseph Arena
                                                  Joseph Arena, Esquire
                                                  Florida Bar No: 0045290

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                                        SERVICE LIST


Mailing Information for Case 17-19159-PGH

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email
notice/service for this case.

      Bouavone Amphone bkyecf@rasflaw.com,
       bamphone@rasflaw.com;ras@ecf.courtdrive.com
      Joseph Arena jarena@ssclawfirm.com,
       bankruptcy@ssclawfirm.com;crestivo@ssclawfirm.com
      Steven M Davis sdavis@bplegal.com
      Elizabeth W Eckhart eeckhart@logs.com, electronicbankruptcynotices@logs.com
      Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
      Jeffrey M Siskind jeffsiskind@msn.com, jmsesq500@gmail.com
      Deborah S. Sugarman dsugarman@kayebenderlaw.com
      Jerome L Tepps courtpapers@teppslawfirm.com;,
       jerome@teppslawfirm.com;william@teppslawfirm.com;G14314@notify.cincompas
       s.com
      Robin R Weiner ecf@ch13weiner.com;ecf2@ch13weiner.com
      Scott R. Weiss scott.weiss@clegalgroup.com, bankruptcy@clegalgroup.com

Manual Notice List

The following is the list of parties who are not on the list to receive email notice/service
for this case (who therefore require manual noticing/service). You may wish to use your
mouse to select and copy this list into your word processing program in order to create
notices or labels for these recipients.

       Synchrony Bank
       PRA Receivables Management, LLC
       c/o Valerie Smith
       PO Box 41021
       Norfolk, VA 23541




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